        Case 19-02635-5-SWH        Doc 13-1 Filed 07/02/19 Entered 07/02/19 09:24:16   Page 1 of
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Attorney Stephanie Vaught Little        Mary Shaw
Att: Managing Officer/Agent             1510 James Island Ave
453 Main Street                         North Myrtle Beach, SC 29582
North Myrtle Beach, SC 29582



Brunswick County Tax Administration     McCutchen, Mumford, Vaught et al
Att: Managing Officer/Agent             Att: Managing Officer/Agent
30 Government Center Dr., SE            4610 Oleander Dr, Ste 209
Bolivia, NC 28422-7987                  Myrtle Beach, SC 29577



Crawford & Von Keller, LLC              NC Department of Revenue
Att: Managing Officer/Agent             Att: Managing Officer/Agent
PO Box 4216                             PO Box 871
Columbia, SC 29240                      Raleigh, NC 27604



Credit One Bank Na                      Regions Bk/greensky Cr
Att: Managing Officer/Agent             Att: Managing Officer/Agent
Po Box 98872                            1797 Northeast Expy Ne
Las Vegas, NV 89193                     Brookhaven, GA 30329



Discover Fin Svcs Llc                   South Carolina Dept of Revenue
Att: Managing Officer/Agent             Att: Managing Officer/Agent
Pob 15316                               PO Box 125
Wilmington, DE 19850                    Columbia, SC 29214



First Citizens Bank & Trust             Syncb/rooms To Go
Att: Managing Officer/Agent             Att: Managing Officer/Agent
239 Fayetteville St                      Po Box 965036
Raleigh, NC 27601                       Orlando, FL 32896



Internal Revenue Service                Thd/cbna
Att: Managing Officer/Agent             Att: Managing Officer/Agent
PO Box 7346                             Po Box 6497
Philadelphia, PA 19101-7346             Sioux Falls, SD 57117



Marjorie and Robert Feimster            Wells Fargo
Att: Managing Officer/Agent             Att: Managing Officer/Agent
4453 Lochurst Dr                        Credit Bureau Dispute Resoluti
Pfafftown, NC 27040                     Des Moines, IA 50306



Mary Feimster Shaw
Att: Managing Officer/Agent
1510 James Island Ave
North Myrtle Beach, SC 29582
